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U.S. Department of Justice

William D. Weinreb
Acting United States Attorney
District of Massachusetts

 

 

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I Courthouse Way
Suite 9200
Boston, Massachusetts 02210

September 19, 2017
Eduardo Masferrer, Esq.
Masferrer & Associates, P.C.
45 Bromfield Street, 5 Floor
Boston, MA 02108

Re: United States v. Elvin Radhames Soto, a/k/a “Jimmy,” a/k/a “Jimmy Quinones,”

a/k/a ‘Frank Norris Agusto,” a/k/a “Jorge Belnabel Santo”
Criminal No. 15-CR-10149-RWZ

Dear Mr. Masferrer:

The Acting United States Attorney for the District of Massachusetts (“the U.S.
Attorney”) and your client, Elvin Soto (“Defendant”), agree as follows with respect to the above-
referenced case:

1. Change of Plea

At the earliest practicable date, Defendant shall waive indictment and plead guilty to the
Superseding Information attached to this Plea Agreement charging him with: Conspiracy to
Distribute Cocaine and Heroin, in violation of Title 21, United States Code, Section 846.
Defendant expressly and unequivocally admits that he committed the crime of Conspiracy to
Distribute Cocaine and Heroin as charged in Count One of the Superseding Information, did so
knowingly and intentionally, and is in fact guilty of that offense. Defendant also agrees to waive
venue, to waive any applicable statute of limitations, and to waive any legal or procedural defects
in the Information.

Defendant also admits that the offense charged in the Superseding Information involved 1
kilogram or more of heroin, a Schedule I controlled substance, and that 1 kilogram or more of
heroin is attributable to, and was reasonably foreseeable by, Defendant.

The U.S. Attorney agrees to dismiss Count One of the Indictment as to Defendant (in which
he is charged as “Elvis Pena, a/k/a “Jimmy,”) following the imposition of sentence at the
Sentencing hearing.
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2. Penalties

Defendant faces the following mandatory minimum and maximum penalties on Count One
of the Superseding Information: incarceration for not less than 10 years and up to life; supervised
release for not less than 5 years and up to life; a fine of $10,000,000; a mandatory special
assessment of $100; and forfeiture to the extent charged in the Superseding Information.

Defendant also recognizes that pleading guilty may have consequences with respect to
Defendant’s immigration status if Defendant is not a citizen of the United States. Under federal
law, a broad range of crimes are removable offenses, including the offense to which Defendant is
pleading guilty. Removal and other immigration consequences are the subject of a separate
proceeding, however, and Defendant understands that no one, including defense counsel and the
District Court, can predict to a certainty the effect of this conviction on Defendant’s immigration
status. Defendant nevertheless affirms his decision to plead guilty regardless of any immigration
consequences that this plea may entail, even if the consequence is Defendant’s automatic removal
from the United States.

3, Sentencing Guidelines

The sentence to be imposed upon Defendant is within the discretion of the District Court
(“Court”), subject to the statutory mandatory minimum and maximum penalties set forth above
and the provisions of the Sentencing Reform Act, and the advisory United States Sentencing
Guidelines (“USSG” or “Guidelines”). While the Court may impose a sentence up to and including
the statutory maximum term of imprisonment and statutory maximum fine, it must consult and
take into account the USSG and the other factors set forth in 18 U.S.C. § 3553(a) in imposing a
sentence.

The parties agree that Defendant’s total offense level under the USSG (prior to any
adjustment for acceptance of responsibility) is calculated as follows:

e inaccordance with USSG § 2D1.1(c)(4) and the drug conversion and marijuana
equivalency table found in USSG § 2D1.1, Application Note 8, Defendant’s
base offense level is 32, because he is responsible for 5,454 grams of heroin
and 504 grams of cocaine, which is equivalent to at least 3,000 kilograms, but
less than 10,000 kilograms of marijuana.

The U.S. Attorney reserves the right to seek an upward departure pursuant to USSG
§ 4A1.3 should any of Defendant’s prior convictions be vacated or Defendant’s Criminal History
Category otherwise change after Defendant’s indictment in this case.

Based on Defendant’s prompt acceptance of personal responsibility for the offense of
conviction in this case, and information known to the U.S. Attorney at this time, the U.S. Attorney
agrees to recommend that the Court reduce by three levels Defendant’s adjusted offense level
under USSG § 3E1.1.
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The U.S. Attorney reserves the right not to recommend a reduction under USSG § 3E1.1
if, at any time between Defendant’s execution of this Plea Agreement and sentencing, Defendant:

(a)
(b)
(c)

(d)

(¢)

(f)

(g)
(h)
(i)

G)

Fails to admit a complete factual basis for the plea;
Fails to truthfully admit Defendant’s conduct in the offense of conviction;

Falsely denies, or frivolously contests, relevant conduct for which
Defendant is accountable under USSG § 1B1.3;

Fails to provide truthful information about Defendant’s financial status;
Gives false or misleading testimony in any proceeding relating to the
criminal conduct charged in this case and any relevant conduct for which

Defendant is accountable under USSG § 1B1.3;

Engages in acts that form a basis for finding that Defendant has obstructed
or impeded the administration of justice under USSG § 3C1.1;

Intentionally fails to appear in Court or violates any condition of release;
Commits a crime;

Transfers any asset protected under any provision of this Plea Agreement;
or

Attempts to withdraw Defendant’s guilty plea.

Defendant understands and acknowledges that Defendant may not withdraw his plea of
guilty if, for any of the reasons listed above, the U.S. Attorney does not recommend that Defendant
receive a reduction in offense level for acceptance of responsibility. Defendant also understands
and acknowledges that, in addition to declining to recommend an acceptance-of-responsibility
adjustment, the U.S. Attorney may seek an upward adjustment pursuant to USSG § 3C1.1 if
Defendant obstructs justice after the date of this Plea Agreement.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

4, Sentence Recommendation

The U.S. Attorney agrees to recommend the following sentence before the Court:

(a)
(b)

incarceration for 120 months;

a fine within the Guidelines sentencing range as calculated by the Court at
sentencing, excluding departures, unless the Court finds that Defendant is
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(c)
(d)

(e)

not able and, even with the use of a reasonable installment schedule, is not
likely to become able to pay a fine;

60 months of supervised release;

a mandatory special assessment of $100, which Defendant must pay to the
Clerk of the Court on or before the date of sentencing (unless Defendant
establishes to the Court’s satisfaction that Defendant is unable to do so);

and

forfeiture as set forth in Paragraph 8.

Defendant agrees to provide the U.S. Attorney expert reports, motions, memoranda of law
and documentation of any kind on which Defendant intends to rely at sentencing not later than 21
days before sentencing. Any basis for sentencing as to which Defendant has not provided the U.S.
Attorney all such items at least 21 days before sentencing shall be deemed waived.

1. Waiver of Rights to Appeal and to Bring Future Challenge

(a)

(b)

(c)

(d)

(e)

Defendant has conferred with his attorney and understands that he has the
right to challenge both his conviction and his sentence (including any orders
relating to the terms and conditions of supervised release, fines, forfeiture,
and restitution) on direct appeal. Defendant also understands that, in some
circumstances, Defendant may be able to argue in a future proceeding
(collateral or otherwise), such as pursuant to a motion under 28 U.S.C.
§ 2255, 28 U.S.C. § 2241, or 18 U.S.C. §3582(c), that Defendant’s
conviction should be set aside or Defendant’s sentence (including any
orders relating to the terms and conditions of supervised release, fines,
forfeiture, and restitution) set aside or reduced.

Defendant waives any right to challenge Defendant’s conviction on direct
appeal or in a future proceeding (collateral or otherwise).

Defendant agrees not to file a direct appeal or challenge in a future
proceeding (collateral or otherwise) any sentence of imprisonment of 120
months or less or any orders relating to the terms and conditions of
supervised release, fines, forfeiture, and restitution. This provision is
binding even if the Court’s Guidelines analysis is different from that set
forth in this Plea Agreement.

This Plea Agreement does not affect the rights of the United States as set
forth in 18 U.S.C. § 3742(b). Defendant understands and acknowledges
that the U.S. Attorney has retained all appeal rights.

Regardless of the previous sub-paragraphs, Defendant reserves the right to
claim that: (i) Defendant’s lawyer rendered ineffective assistance of counsel

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under Strickland v. Washington; or (ii) the prosecutor in this case engaged
in misconduct that entitles Defendant to relief from Defendant’s conviction
or sentence.

2. Other Post-Sentence Events

(a) If, despite the waiver provision of sub-paragraph 5(c), Defendant appeals or
challenges in a future proceeding (collateral or otherwise) Defendant’s
sentence, the U.S. Attorney reserves the right to argue the correctness of the
sentence imposed by the Court.

(b) If, despite the waiver provision of sub-paragraph 5(c), Defendant seeks re-
sentencing, Defendant agrees not to seek to be re-sentenced with the benefit
of any change to the Criminal History Category that the Court calculated at
the time of Defendant’s original sentencing, except to the extent that
Defendant has been found actually factually innocent of a prior crime.

(c) In the event of a re-sentencing following an appeal from or future challenge
(collateral or otherwise) to Defendant’s sentence, the U.S. Attorney reserves
the right to seek a departure from and a sentence outside the USSG if, and
to the extent, necessary to reinstate the sentence the U.S. Attorney
advocated at Defendant’s initial sentencing pursuant to this Plea
Agreement.

7. Court Not Bound by Plea Agreement

The parties’ sentencing recommendations and their respective calculations under the USSG
are not binding upon the U.S. Probation Office or the Court. Within the mandatory minimum and
maximum sentence Defendant faces under the applicable law, the sentence to be imposed is within
the sole discretion of the Court. Defendant’s plea will be tendered pursuant to Fed. R. Crim. P.
11(c)(1)(B). Defendant may not withdraw his plea of guilty regardless of what sentence is
imposed, or because the U.S. Probation Office or the Court declines to follow the parties’ USSG
calculations or recommendations. Should the Court decline to follow the U.S. Attorney’s USSG
calculations or recommendations, the U.S. Attorney reserves the right to defend the Court’s
calculations and sentence in any direct appeal or future challenge (collateral or otherwise).

8. Forfeiture

Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.

Defendant admits that these assets are subject to forfeiture on the grounds that they
constitute or are derived from proceeds of the Defendant’s offenses; and/or they were used, or
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intended to be used, to commit or to facilitate the commission of the Defendant’s offenses.
Defendant agrees to consent to the entry of orders of forfeiture for such property and waives the
requirements of Federal Rules of Criminal Procedure !1(b)(1)(J), 32.2, and 43(a) regarding notice
of the forfeiture in the charging instrument, advice regarding the forfeiture at the change-of-plea
hearing, announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the
judgment. Defendant understands and agrees that forfeiture shall not satisfy or affect any fine,
lien, penalty, restitution, cost of imprisonment, tax liability or any other debt owed to the United
States.

Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant agrees
to promptly take all steps necessary to pass clear title to the forfeited assets to the United States,
including but not limited to executing any and all documents necessary to transfer such title,
assisting in bringing within the jurisdiction of the United States any assets located outside of the
United States, and taking all steps necessary to ensure that assets subject to forfeiture are not sold,
disbursed, wasted, hidden or otherwise made unavailable for forfeiture. Defendant further agrees
(a) not to assist any third party in asserting a claim to the forfeited assets in an ancillary proceeding,
and (b) to testify truthfully in any such proceeding. In addition, if the U.S. Attorney requests,
Defendant shall give the U.S. Attorney within 30 days after signing this Plea Agreement a sworn
financial statement disclosing all assets in which Defendant currently has any interest and all assets
over which Defendant has exercised control, or has had any legal or beneficial interest, at any time
from October 2012 to the present. Defendant further agrees to be deposed with respect to
Defendant’s assets at the request of the U.S. Attorney.

Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement. Defendant agrees not to challenge or seek review of any civil or
administrative forfeiture of any property subject to forfeiture under this Plea Agreement, and will
not assist any third party with regard to such challenge or review.

Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.

9. Civil Liability

By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result of Defendant’s conduct and plea of guilty to the charge specified in Paragraph 1 of this
Plea Agreement.

10. Rejection of Plea by Court
Should Defendant’s guilty plea not be accepted by the Court for whatever reason, or later

be withdrawn on Defendant’s motion, this Plea Agreement shall be null and void at the option of
the U.S. Attorney.
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11. Breach of Plea Agreement

 

If the U.S. Attorney determines that Defendant has failed to comply with any provision of
this Plea Agreement, has violated any condition of Defendant’s pretrial release, or has committed
any crime following Defendant’s execution of this Plea Agreement, the U.S. Attorney may, at his
sole option, be released from his commitments under this Plea Agreement in their entirety by
notifying Defendant, through counsel or otherwise, in writing. The U.S. Attorney may also pursue
all remedies available to him under the law, regardless whether he elects to be released from his
commitments under this Plea Agreement. Further, the U.S. Attorney may pursue any and all
charges that have been, or are to be, dismissed pursuant to this Plea Agreement. Defendant
recognizes that his breach of any obligation under this Plea Agreement shall not give rise to
grounds for withdrawal of Defendant’s guilty plea, but will give the U.S. Attorney the right to use
against Defendant before any grand jury, at any trial or hearing, or for sentencing purposes, any
statements made by Defendant and any information, materials, documents or objects provided by
Defendant to the government, without any limitation, regardless of any prior agreements or
understandings, written or oral, to the contrary. In this regard, Defendant hereby waives any
defense to any charges that Defendant might otherwise have based upon any statute of limitations,
the constitutional protection against pre-indictment delay, or the Speedy Trial Act.

12, Who Is Bound By Plea Agreement

This Plea Agreement is limited to the U.S. Attorney for the District of Massachusetts, and
cannot and does not bind the Attorney General of the United States or any other federal, state or
local prosecutive authorities.
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13. Complete Plea Agreement

This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.

If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Emily Cannon.

Very truly yours,

WILLIAM D. WEINREB
Acting United States Attorney

By. £2 fo
ee K. LEVITT
Chief, Organized Crime and Gang Unit
TIMOTHY E. MORAN
Deputy Chief,
Organized Crime and Gang Unit

COU

EMILY CANNON
MICHAEL CROWLEY
Assistant U.S. Attorneys

 
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ACKNOWLEDGMENT OF PLEA AGREEMENT

I have read this letter or have had this Plea Agreement read to me in my native language in
its entirety and discussed it with my attorney. I hereby acknowledge that it fully sets forth my
agreement with the United States Attorney’s Office for the District of Massachusetts. I further
state that no additional promises or representations have been made to me by any official of the
United States in connection with this matter, and that I have received no prior offers to resolve this
case. I understand the crime to which I have agreed to plead guilty, the mandatory minimum and
maximum penalties for that offense and the Sentencing Guideline penalties potentially applicable
to it. I am satisfied with the legal representation provided to me by my attorney. We have had
sufficient time to meet and discuss my case. We have discussed the charge against me, possible
defenses I might have, the terms of this Plea Agreement and whether I should go to trial. Iam
entering into this Plea Agreement freely, voluntarily, and knowingly because I am guilty of the
offense to which I am pleading guilty, and I believe this Plea Agreement is in my best interest.

V O/ O°
Elvin Soto
Defendant

Date: | 2)\\G

I certify that Elvin Soto has read this Plea Agreement or has had this Plea Agreement read
to him in his native language and that we have discussed its meaning. I believe he understands the
Plea Agreement and is entering into the Plea Agreement freely, voluntarily, and knowingly. | also
certify that the U.S. Attorney has not extended any other offers to resolve this matter.

A YL—
Eduardo Masferrer
Attorney for Defendant

Date: Ww 20 [1%
